                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

MARY IONELLA KNIGHT, et al.,                          )
                                                      )
                       Plaintiffs,                    )
                                                      )
       v.                                             )          No. 05-1145-CV-W-ODS
                                                      )
CNS INTERNATIONAL MINISTRIES, INC.,                   )
et al.,                                               )
                                                      )
                       Defendants.                    )

     SUGGESTIONS IN SUPPORT OF DEFENDANTS’ JOINT RESPONSE TO
PLAINTIFFS’ MOTION FOR REMAND AND UNOPPOSED REQUEST FOR STAY OF
        DEADLINE FOR RESPONDING TO PLAINTIFFS’ COMPLAINT

        Defendants have jointly responded to plaintiffs’ motion for remand as set forth in their

response and have made the unopposed request that the Court stay the deadline for defendants’

response to plaintiffs’ complaint until 30 days after the Court rules on plaintiffs’ motion for

remand.

        The affidavits plaintiffs have filed and promised to file state that they will not seek

damages in excess of $5,000,000.00 in the aggregate for themselves and all putative class

members, and that they will not seek attorney fees or costs outside that aggregate limit of

$5,000,000.00. In reliance on the representations contained in these affidavits, defendants do not

intend to file an opposition to plaintiffs’ motion for remand.

        In light of the foregoing, Defendants have requested that the Court stay the deadline for

their response to plaintiffs’ complaint until 30 days after the Court rules on plaintiffs’ motion for

remand.




Dated: December 23, 2005



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                                 CERTIFICATE OF SERVICE

        A copy of the foregoing was served electronically this 23nd day of December, 2005,
upon:

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